 8:10-cr-00303-RFR-MDN            Doc # 31    Filed: 09/16/10   Page 1 of 1 - Page ID # 63




                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                     )
                                              )
                     Plaintiff,               )
                                              )
              v.                              )
                                              )                  8:10CR303
SHANE LUTHER,                                 )
LANNY COOPER, and                             )                    ORDER
MARK LINDSAY,                                 )
                                              )
                     Defendants.              )
                                              )


       For good cause shown,

       IT IS ORDERED that the motion (#30) of defendant, Shane Luther, for an extension
of the deadline to file pretrial motions is granted, as follows:

      1. The deadline for filing pretrial motions is extended from September 15, 2010
to October 14, 2010, as to all defendants.

        2. In accordance with 18 U.S.C. § 3161(h)(7)(A), the court finds that the ends of
justice will be served by granting this continuance and outweigh the interests of the public
and the defendant in a speedy trial. Any additional time arising as a result of the granting
of this motion, that is, the time between September 15, 2010 and October 14, 2010, shall
be deemed excludable time in any computation of time under the requirement of the
Speedy Trial Act. Failure to grant a continuance would deny counsel the reasonable time
necessary for effective preparation, taking into account the exercise of due diligence. 18
U.S.C. § 3161(h)(7)(A) & (B)(iv).

       DATED September 16, 2010.

                                             BY THE COURT:

                                             s/ F.A. Gossett, III
                                             United States Magistrate Judge
